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                                IN THE UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF VIRGINIA
                                     CHARLOTTESVILLE DIVISION

                                   CRIMINAL MINUTES - ARRAIGNMENT

 Case No.: 3:23cr00011                          Date: 7/14/23


 Defendant: Scott Howard Jenkins, bond                               Counsel: Nicholas Martin DePalma, retained



 PRESENT:           JUDGE:                       Joel C. Hoppe, USMJ     TIME IN COURT: 10:16-10:20=4 minutes
                    Deputy Clerk:                Karen Dotson
                    Court Reporter:              Karen Dotson, FTR
                    U. S. Attorney:              Sean Welsh present for Heather Carlton
                    USPO:                        Andrew Lightner
                    Case Agent:                  SA Clouser
                    Interpreter:                 n/a


           Arraignment and plea continued to New Date.
           Juvenile Information filed with Certificate of U. S. Attorney that State Court refuses jurisdiction.
           Defendant states that true name is same as above. Defendant given copy of Indictment.
           Defendant(s) waives reading of Indictment.
           Indictment or Information read.
           Defendant(s) is arraigned and specifically advised of rights (Rule 11 F.R.C.P).

 DEFENDANT(S) PLEADS:

  DEF. #              GUILTY                 NOT GUILTY               NOLO                     REMARKS
                                           cts. 1-16
     1

     2

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           Jury trial set for Sept. 7, 2023 before Hon, Moon.
           Trial to be set by Clerk upon arrest of all defendants.
           Pretrial conference set for Pretrial Conference Date.
           Defendant(s) remanded to custody.
           Defendant(s) released on bond.

 Additional Information:
 All parties present in person
 Atty noted his appearance, atty status hrg not needed
 Dft states he is 51 yoa, completed high school and some college, not taking any meds that alter his thinking
 Dft to contniue on bond
